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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                             10/19/2020
---------------------------------------------------------------X
                                                               :
  JOSE MANUEL GOMEZ, on behalf of                              :   20-CV-1094 (VSB) (RWL)
  himself and all others similarly situated,                   :
                                                               :
                           Plaintiff,                          :
                                                               :   ORDER
                                                               :
         - against -                                           :
                                                               :
  BIG LINE INC. (d/b/a WAREHOUSE                               :
  FURNITURE),                                                  :
                                                               :
                           Defendant.                          :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

         Plaintiff’s inquest submission is deficient in that the attorneys’ fees information is

provided in the unsigned proposed findings of fact and conclusions of law (Dkt. 31 at

paragraphs 51-57) but not in the supporting attorney declaration (Dkt. 33). Accordingly,

if Plaintiff seeks recovery of attorneys’ fees, he shall submit by October 26, 2020 a

supplementary or revised attorney declaration that attests to the attorneys’ fees

information.



                                                     SO ORDERED.



                                                     ______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE
Dated:        October 19, 2020
              New York, New York
